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         6                             UNITED STATES DISTRICT CO URT
         7                                     DISTRIC T O F N EVA D A

         8 UM TED STATESOF AM ERICA,                       )
                                                           )
         9                        Plaintiff,               )                                                 '
                                                           )
        10         v.                                      )          2:10-CR-365-JCM (PAQ
                                                           )
        11 JONATHAN FRANCIS,                               )
                                                           )
        12                        Defendant.               )
        13                               FIN AL O R DER O F FO RFEITU R E
        14          On August25,201.
                                   1sthe United StatesDistrictCourtforthe DistrictofNevadaentered a

        15 PreliminaryOrderofForfeitureplzrsuantto Fed,R.Crim.P,32.2(b)(1)and(2);Title21,United
        16 StatesCode,Section853(a)(1)and853(a)(2);Title21,UnitedStatesCode,Section881(a)(l1)and
        17 Title28,UnitedSttesCode,Section2461(c))andTitle18,UnitedStatesCode,Section924(d)(1),
        18 (2)(C),arld(3)1 )andTitle28,UnitedStatesCode,Section2461(c),baseduponthepleaofguilty
        19 by defendantJONATHAN FRANCIS to acrim inaloffense,forfeiting specificpropertyalleged in

        20 theCrim inallndictmentand agreedto in thePleaM em orandtun and shownbytheUnited Sàtesto
        21 have a requisite nexus to the offense to which defendant JON A TH AN FRAN CIS pled guilty.
        22 Docket/16,//111,#112,//113.
        23         This Courttinds the United States ofAmerica published the notice ofthe forfeiture in
        24 axordance with the law viathe oftk ialgovernm entintem etforfeiture site,w ww.forfeittlre.gov,
1
        25 consecutively from August28,2011,through Septem ber26,20l1,notifyinga1lthirdpartiesoftheir
!       26 righttopetition tlle Court.#132,
         Case 2:10-cr-00365-JCM-PAL         Document 169       Filed 02/09/12    Page 2 of 3



 1          'IhisCoul'tfindsno petitionwasfiled herein byoron behalfofanyperson orentityandthe

 2 time forfiling such petitionsand claimshasexpired.
 3          ThisCourtfindsnopetitionsarependingwithregardtotheassetsnamedhereinandthetime
 4 forpresenting such petitionshasexpired,

 5          THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thata1lright,
 6 title,and interestin the property hereinaherdescribed iscondem ned,forfeited,and vested in the

 7 United StatesofAmericapursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P,
 8 32.2(c)(2);Title2l,UnitedStatesCode,Section 853(a)(1)and 853(a)(2);Title2l,United States
 9 Code,Section881(a)(11)andTitle28,UnitedStatesCode,Section2461(c);Title18,UnitedSte
                                                                                    ztes
10 Code,Section924(d)(1),(2)(C),and(3)(B)andTitle28,UnitedStatesCode,Section2461(c);and
11 Title21,UnitedStatesCode,Section853(n)(7)andshallbedisposed ofaccordingtolaw:
12          a)     $17l,600 inUnitedStatesCurrency;
l3          b)     a 2008 Black Chevy Suburban bearing Nevada license plate,YODADY,Vm :
14                 IGNFC 16008R143172;

15          c)     a Glock M odel23,.40 calibersemi-automatic harldgtm bearing serialnumber
16                 KFF109;

17          d)     aSigSauerM odelP229,.40calibersemi-automatichandgunbemingserialnumber
18                 A G 23046;and

19          e)     anyanda1lammunition(ttpropertyn).
20          IT IS FURTHER ORDERED,ADJUDOED,AND DECREED thataay and a1lforfeited
2 1 funds,including butnotlim ited to,currency,currency equivalents, certificatesofdeposit,aswell

22 asany incom e derived msaresultofthe United StatesofAmerica'sm anagem entofany property
23 forfeited herein,and tlie proceeds from the sale ofany forfeited property shallbe disposed of
24 according to law .
25 ...
26 ...

                                                  2
            Case 2:10-cr-00365-JCM-PAL         Document 169     Filed 02/09/12    Page 3 of 3



     1         TheClerk ishereby directed to send copiesofthisOrderto a11counselofrecord and three

     2 certified copiesto theUnit SGtesAttorrley's ffice,
     3         DA TED this            day of                 ,2012,
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     5                                                           a c.u           (L.
     6                                           UN     D STATES D ISTRICT JU D GE
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